       Case 3:16-cv-01258-LAB-NLS Document 1 Filed 05/26/16 PageID.1 Page 1 of 5



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5    Attorney for Plaintiff, RAMON BERMUDEZ
6
                            IN THE UNITED STATES DISTRICT COURT
7                         FOR THE SOUTHERN DISTRICT OF CALIFORNIA
8
     RAMON BERMUDEZ,                                 ) Case No.: '16CV1258 LAB NLS
9                                                    )
                                                     ) COMPLAINT
10                    Plaintiff,                     )
                                                     ) (Unlawful Debt Collection Practices)
11            v.                                     )
                                                     )
12                                                   )
     CITIBANK, N.A.,                                 )
13                                                   )
                                                     )
14                    Defendant.                     )
15

16            RAMON BERMUDEZ (“Plaintiff”), by his attorneys, KROHN & MOSS, LTD., alleges
17   the following against CITIBANK, N.A. (“Defendant”):
18                                           INTRODUCTION
19         1. Count I of Plaintiff’s Complaint is based on the Rosenthal Fair Debt Collection Practices
20            Act (“Rosenthal”), Cal. Civ. Code §1788 et seq.
21         2. Count II of the Plaintiff’s Complaint is based on Telephone Consumer Protection Act
22            (“TCPA”), 28 U.S.C. §227 et seq.
23   ///
24   ///
25   ///


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                                          PLAINTIFF’S COMPLAINT
     Case 3:16-cv-01258-LAB-NLS Document 1 Filed 05/26/16 PageID.2 Page 2 of 5



1                                 JURISDICTION AND VENUE
2     3. Jurisdiction of this court over Count II of Plaintiff’s Complaint arises pursuant to 15
3        U.S.C. § 1331 and 28 U.S.C. § 1367 grants this court supplemental jurisdiction over the
4        state claims contained in Count I.
5     4. Defendant conducts business in the State of California thereby establishing personal
6        jurisdiction.
7     5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
8                                             PARTIES
9     6. Plaintiff is a natural person residing in San Diego, California.
10    7. Plaintiff is a consumer or debtor and allegedly owes a debt as that term is defined by Cal.
11       Civ. Code § 1788.2(d)-(e).
12    8. Defendant is a business entity with a business office located in Sioux Falls, South
13       Dakota and conducting business in California.
14    9. Defendant is a debt collector as that term is defined by Cal. Civ. Code §1788.2(c), and
15       sought to collect a consumer debt from Plaintiff.
16    10. Defendant acted through its agents, employees, officers, members, directors, heirs,
17       successors, assigns, principals, trustees, sureties, subrogees, representatives, and
18       insurers.
19                                 FACTUAL ALLEGATIONS
20    11. Plaintiff acquired a credit card from Defendant which was used for personal, family, and
21       household purposes.
22    12. Defendant placed calls to telephone number (619) 534-7934, which is Plaintiff’s cellular
23       telephone.
24    13. Upon information and belief based on the frequency, number, nature, and character of
25       these calls, Defendant placed each of its calls to Plaintiff using an automatic telephone


                                                  -2-

                                      PLAINTIFF’S COMPLAINT
     Case 3:16-cv-01258-LAB-NLS Document 1 Filed 05/26/16 PageID.3 Page 3 of 5



1        dialing system or other equipment that hast the capacity to store and/or produce
2        telephone numbers.
3     14. The purpose of these calls was to collect funds from Plaintiff for purchased arising from
4        the credit card.
5     15. On December 1, 2015 at approximately 2:49 PM, Plaintiff spoke with one of
6        Defendant’s representatives and instructed Defendant to stop calling his cell phone
7        number.
8     16. Defendant continued to call Plaintiff’s cell phone.
9     17. On December 30, 2015 at approximately 10:09 AM, Plaintiff called spoke with one of
10       Defendant’s representatives and instructed Defendant a second time to stop calling his
11       cell phone number.
12    18. Defendant continued to call Plaintiff’s cell phone.
13    19. Since December 1, 2016, Defendant called Plaintiff’s cell phone at least two hundred
14       sixty-nine (269) times.
15    20. During this time period Defendant called Plaintiff’s cell phone as many as four (4) times
16       in a single day.
17    21. Plaintiff is annoyed and feels harassed by Defendant's calls.
18    22. Defendant placed these calls voluntarily.
19    23. Defendant placed these calls under its own free will.
20    24. Defendant had knowledge that it was using an automatic telephone dialing system to
21       place these calls.
22    25. Defendant intended to use an automatic telephone dialing system to place these calls.
23                              COUNT I
         DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
24                           PRACTICES ACT
25    26. Defendant violated the Rosenthal based on the following:


                                                  -3-

                                      PLAINTIFF’S COMPLAINT
      Case 3:16-cv-01258-LAB-NLS Document 1 Filed 05/26/16 PageID.4 Page 4 of 5



1              a. Defendant violated the § 1788.11(d) of the Rosenthal by causing Plaintiff’s
2                  telephone to ring repeatedly or continuously to annoy the person called.
3              b. Defendant violated § 1788.11(e) of the RFDCPA by communicating, by
4                  telephone, with the debtor with such frequency as to be unreasonable and to
5                  constitute an harassment to the debtor under the circumstances
6              c. Defendant violated the §1788.17 of the Rosenthal by continuously failing to
7                  comply with the statutory regulations contained within the FDCPA, 15 U.S.C. §
8                  1692 et seq. to wit: Sections 1692d.
9           WHEREFORE, Plaintiff, RAMON BERMUDEZ, respectfully requests judgment be
10   entered against Defendant, CITIBANK, N.A. d/b/a Credit One Bank, for the following:
11      27. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt Collection Practices
12          Act, Cal. Civ. Code §1788.30(b),
13      28. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection
14          Practices Act, Cal. Civ Code § 1788.30(c), and
15      29. Any other relief that this Honorable Court deems appropriate.
16
                                 COUNT II
17      DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT
18      30. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,
19          entitling Plaintiff to an award of $500.00 in statutory damages for each and every
20          violation pursuant to 47 U.S.C. § 227(b)(3)(B).
21      31. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or
22          willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory
23          damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
24          U.S.C. § 227(b)(3)(C).
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                                                   -4-

                                       PLAINTIFF’S COMPLAINT
      Case 3:16-cv-01258-LAB-NLS Document 1 Filed 05/26/16 PageID.5 Page 5 of 5



1       WHEREFORE, Plaintiff, RAMON BERMUDEZ, respectfully requests judgment be entered
2    against Defendant, CITIBANK, N.A. d/b/a Credit One Bank, for the following:
3       32. Statutory damages of $500.00 for each and every negligent violation of the TCPA
4           pursuant to 47 U.S.C. § (b)(3)(B);
5       33. Statutory damages of $1500.00 for each and every knowing and/or willful violation of
6           the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);
7       34. All court costs, witness fees and other fees incurred; and
8       35. Any other relief that this Honorable Court deems appropriate.
9

10                                                RESPECTFULLY SUBMITTED,
11      Dated: May 26, 2016
                                                  KROHN & MOSS, LTD.
12
                                          By:     /s/ Corinne Orquiola
13                                                Corinne Orquiola
                                                  Attorney for Plaintiff
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                                        PLAINTIFF’S COMPLAINT
